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May 5, 2023                                                                                   John Walsh
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Lyle W. Cayce, Clerk of Court
United States Court of Appeals
Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408

       Re:     Alliance for Hippocratic Medicine, et al. v. U.S. Food and Drug Administration,
               et al., No. 23-10362

Dear Mr. Cayce:

I respectfully write to inform you that Randy Seiler, former U.S. Attorney of the District of
South Dakota (2015-2017), passed away on April 17, 2023. Mr. Seiler was one of the amici on
the Brief of Former U.S. Department of Justice Officials as Amici Curiae Supporting Appellants
and Reversal, filed on May 1, 2023. Counsel for amici became aware of Mr. Seiler’s death on
May 2, 2023, a day after filing the brief.

I respectfully request that this letter be distributed to the panel with the Brief of Former U.S.
Department of Justice Officials as Amici Curiae Supporting Appellants and Reversal.


Sincerely,

/s/ John F. Walsh
John F. Walsh
